    2:18-mn-02873-RMG           Date Filed 07/03/23       Entry Number 3371         Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING FOAMS                                  )   MDL No.
PRODUCTS LIABILITY LITIGATION                                      )   2:18-mn-2873-RMG
                                                                   )

                                                                   )
CITY OF CAMDEN, et al.,                                            )   Case No: 2:23-cv-03147
                                                                   )
                  Plaintiffs,                                      )
                                                                   )
 -vs-                                                              )
                                                                   )
 3M COMPANY,                                                       )
                                                                   )
                  Defendant.                                       )



   PLAINTIFFS’ CONSENTED TO MOTION FOR LEAVE TO FILE UNDER SEAL
   SUPPLEMENTAL AGREEMENT CONTAINING 3M’S OPT-OUT WALK-AWAY
                        RIGHT THRESHOLDS

        Plaintiffs have reached a class action Settlement Agreement (“Settlement Agreement”)

with Defendant 3M Company (“3M”). On July 3, 2023, Plaintiffs’ filed a Motion for Preliminary

Approval of the Settlement Agreement (ECF No 3370). A copy of the Settlement Agreement,

executed on Plaintiffs’ behalf by proposed Class Counsel, was attached as Exhibit 2 to said

Motion for public review (ECF 3370-3). The Settlement Agreement is, of course, subject to

Court approval.

        Pursuant to Local Civil Rule 5.03 and Case Management Order No. 17, Plaintiffs, by

and through Interim Class Counsel, and with the consent of 3M, submit this Motion requesting

that the Court seal the Annex to the Settlement Agreement, which is a Supplemental Agreement

containing 3M’s Opt-Out Walk-Away Right Thresholds.

        In support of their Motion, Plaintiffs state as follows:
    2:18-mn-02873-RMG           Date Filed 07/03/23       Entry Number 3371         Page 2 of 6




       1.      Section 9.1 of the Settlement Agreement provides 3M with the option, in its sole

discretion, to terminate the Settlement Agreement (the “Walk-Away Right”) if certain

conditions related to Settlement Eligible Claimants (potential Class Members) who file timely

valid Requests for Exclusion are exceeded. S.A. 9.1–9.1.18. The thresholds needed to trigger

3M’s Walk-Away Right are set out in a Supplemental Agreement that the parties have agreed

should be filed under seal with the Court. S.A. 9.1.18.

       2.      The parties agree that the Supplemental Agreement is confidential and should not

be publicly filed on the Court’s docket or otherwise. The Supplemental Agreement is a material

term to the Settlement Agreement, and the parties agree that disclosure of these terms would

seriously undermine the integrity of the Settlement Agreement should the Court require that the

Supplemental Agreement be filed on the public docket.

       3.      Plaintiffs’ narrowly tailored request—not asking this Court to seal any aspects of

the Settlement Agreement other than the Supplemental Agreement that contains the percentage

of opt-outs that would trigger 3M’s option to terminate the Settlement Agreement—has been

approved in many similar instances. See, e.g., In re Lyft Secs. Litig., No. 19-2690, 2023 U.S.

Dist. LEXIS 44585, *6 (N.D. Cal. Mar. 16, 2023) (granting motion to seal the opt-out threshold

noting that “[t]he request [was] narrowly tailored because Plaintiff [sought] to seal only the

number and percentage of shares that would trigger the option to withdraw”).

       4.      Federal courts across the United States routinely grant such narrowly tailored

requests, finding that the “potential for abuse [by third parties/professional objectors] outweighs

the interest in public access to this information.” Friedman v. Guthy-Renker, LLC, No. 14-6009,

2016 U.S. Dist. LEXIS 131629 *8–9 (C.D. Cal. Sept. 26, 2016). Indeed, an opt-out threshold

“is typically not disclosed and is kept confidential to encourage settlement and discourage third
    2:18-mn-02873-RMG             Date Filed 07/03/23    Entry Number 3371          Page 3 of 6




parties from soliciting class members to opt out.” N.Y. State Teachers’ Ret. Sys. v. Gen. Motors

Co., 315 F.R.D. 226, 240 (E.D. Mich. 2016) (quoting In re HealthSouth Corp. Sec. Litig., 334

F. App’x 248, 250 n.4 (11th Cir. 2009)), aff’d sub nom Marro v. N.Y. State Teachers’ Ret. Sys.,

No. 16-1821, 2017 U.S. App. LEXIS 24073 (6th Cir. Nov. 27, 2017). There are “compelling

reasons to keep this information confidential” because it “prevent[s] third parties from utilizing

it for the improper purpose of obstructing the settlement and obtaining higher payouts.” Thomas

v. MagnaChip Semiconductor Corp., No. 14-1160, 2016 U.S. Dist. LEXIS 93342, *25 (N.D.

Cal. July 18, 2016); accord In re Skelaxin (Metaxalone) Antitrust Litig., No. 1:12-MD-2343,

2015 WL 1486709, at *2 (E.D. Tenn. Mar. 31, 2015) (finding good cause to seal walk-away

agreement because “[p]otential opt-outs may exploit this type of provision by demanding undue

compensation for not scuttling the settlement”) (quoting supporting declaration); In re Lyft Secs.

Litig., 2023 U.S. Dist. LEXIS 44585, *5 (“As courts have recognized, the threshold should be

kept confidential to discourage third parties with ulterior motives from soliciting class members

to opt out.”); Burch v. Quest Corp., No. 07-2979, 2012 U.S. Dist. LEXIS 203547, *5–6 (D.

Minn. June 6, 2012) (“[T]here is a compelling basis for sealing the termination provision of the

Settlement Agreement, which ‘has no legitimate bearing on a class member’s decision to opt-

out of the settlement, object, or file a claims form’… Sealing this provision will encourage

settlement and discourage third-party solicitation to gain leverage in allocation of the settlement

proceeds.” (citation omitted)).

       5.      Here, each member of the Settlement Class has the individual right to remain in

or exclude itself (“opt out”) from the Settlement Class, and the opt-out thresholds are “irrelevant

to [a class] members’ opt-out decision.” In re Warfarin Sodium Antitrust Litig., 212 F.R.D. 231,

253 (D. Del. 2002) (class notice did not need to include confidential opt-out threshold because
    2:18-mn-02873-RMG           Date Filed 07/03/23        Entry Number 3371         Page 4 of 6




it was “irrelevant to [class] members’ opt-out decision”), aff’d, 391 F.3d 516 (3d Cir. 2004); see

also In re Remeron End-Payor Antitrust Litig., No. 04-5126, 2005 U.S. Dist. LEXIS 27011,

*52–53 (D.N.J. Sept. 13, 2005) (“[I]nformation regarding conditions that may terminate a

settlement need not be detailed in the notice to the class… The Rider has no legitimate bearing

on a class member’s decision to opt-out of the settlement, object, or file a claims form.”).

Additionally, neither “mass” nor “class” opt outs are permitted and “no Eligible Claimant may

submit an Opt Out on behalf of any other Eligible Claimant or Class Member.” S.A. 8.5.4; see

also Hanlon v. Chrysler Corp., 150 F.3d 1011, 1024 (9th Cir. 1998) (“There is no class action

rule, statute, or case that allows a putative class plaintiff or counsel to exercise class rights en

masse, either by making a class-wide objection or by attempting to effect a group-wide exclusion

from an existing class. Indeed, to do so would infringe on the due process rights of the individual

class members, who have the right to intelligently and individually choose whether to continue

in a suit as class members.”). Thus, to be able to exercise a right under the Settlement

Agreement, a member of the Settlement Class has no reason to know the precise thresholds

necessary to trigger 3M’s Walk-Away Right.

       6.      To be certain, the option to terminate the Settlement Agreement if any threshold

is met is exclusively with 3M. S.A. 9.1 (“3M shall have the option, in its sole discretion, to

terminate this Settlement Agreement and not proceed with the Settlement” if certain conditions

are satisfied (emphasis added)). However, as supported by the caselaw cited above, should the

threshold become publicly known, third parties could solicit members of the Settlement Class

in an effort to increase opt-outs for the personal benefit of those third parties. As such, real harm

would occur if the Supplemental Agreement containing these thresholds were made public.
    2:18-mn-02873-RMG           Date Filed 07/03/23      Entry Number 3371           Page 5 of 6




       7.      The parties agree that there are no less drastic alternatives to sealing the

Supplemental Agreement that will afford the parties the same protections as ensuring that the

Supplemental Agreement is not published in the public record. Thus, to the extent that Local

Civil Rule 5.03(E) may apply to this Motion, it would be appropriate to suspend that Rule

pursuant to Local Civil Rule 1.02 for good cause shown. See Unger v. Furman Univ., No. 6:21-

CV-379-TMC, 2021 WL 6206585, at *1 n.1 (D.S.C. Dec. 3, 2021) (noting Court had allowed

parties to file settlement under seal pursuant to Local Civ. R. 1.02 for good cause shown and

discussing only those parts of the settlement that were “readily ascertainable” from the publicly

filed documents).

       8.      Pursuant to Local Civil Rule 7.02, 3M’s counsel consents to the filing of this

Motion and the relief requested herein.

       9.      As required by Local Civil Rule 5.03(B) and CMO No. 17, this Motion is

accompanied by:

                    a. Exhibit A: a non-confidential descriptive index of the documents sought

                       to be sealed;

                    b. Exhibit B: counsel’s certification of compliance with Local Civil Rule

                       5.03 and CMO No. 17;

                    c. Exhibit C: a placeholder sheet stating, “Confidential Documents

                       Contemporaneously Submitted to the Court for In Camera Review in

                       Compliance with CMO No. 17”; and

                    d. Exhibit D: a proposed order.

       10.     Pursuant to CMO No. 17, Plaintiffs are submitting for in camera review a copy

of the confidential exhibits that are the subject of the present Motion via email.
    2:18-mn-02873-RMG          Date Filed 07/03/23     Entry Number 3371         Page 6 of 6




        11.    Pursuant to Local Civil Rule 7.04, no accompanying memorandum has been

submitted herewith because this Motion fully sets forth the grounds for relief, and a separate

memorandum would serve no useful purpose.

        Wherefore, having complied with the requirements of Local Civil Rule 5.03 and CMO No.

17, Plaintiffs respectfully move this Court to allow them to file the Supplemental Agreement under

seal.

Dated: July 3, 2023                                 Respectfully submitted,


                                                    /s/Michael A. London
                                                    Michael A. London
                                                    Douglas and London PC
                                                    59 Maiden Lane
                                                    6th Floor
                                                    New York, NY 10038
                                                    P: (212)-566-7500
                                                    F: (212)-566-7501
                                                    mlondon@douglasandlondon.com

                                                    /s/ Paul J. Napoli
                                                    Paul J. Napoli
                                                    Napoli Shkolnik PLLC
                                                    1301 Avenue of The Americas
                                                    10th Floor
                                                    New York, NY 10019
                                                    P: (212)-397-1000
                                                    F: (646)-843-7603
                                                    pnapoli@napolilaw.com

                                                    /s/ Scott Summy
                                                    Scott Summy
                                                    Baron & Budd, P.C.
                                                    3102 Oak Lawn Avenue
                                                    Suite 1100
                                                    Dallas, TX 75219
                                                    P: (214)-521-3605
                                                    ssummy@baronbudd.com

                                                    Interim Class Counsel
